Case 2:19-cv-02928-JS-ARL Document 46 Filed 07/20/21 Page 1 of 3 PageID #: 516




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

BUREAU OF CONSUMER FINANCIAL
PROTECTION,
                                                             Civil Action No.
            Plaintiff,                                       2:19-cv-02928-JS-ARL

               v.
                                                             NOTICE OF MOTION AND
FORSTER & GARBUS, LLP,                                       MOTION FOR
                                                             RECONSIDERATION
               Defendant.


       Pursuant to Local Rule 6.3, Plaintiff the Consumer Financial Protection Bureau

(“Bureau”) respectfully moves for reconsideration of the Court’s July 16, 2021, minute order

denying the Bureau’s motion to reopen this case, with leave to renew by September 27, 2021, or

within ten days of the Supreme Court’s decision on whether to grant certiorari in RD Legal

Funding LLC v. CFPB, No. 20-1758. Moving for “reconsideration is appropriate when the

moving party believes the Court overlooked important matters or controlling decisions that

would have influenced the prior decision.” RFE Inv. Partners VI, L.P. v. Jacobs, No. 03-CV-

3530-JS, 2006 WL 8435481, at *2 (E.D.N.Y. Sept. 15, 2006) (internal quotation marks omitted).

Reconsideration is warranted here because the parties did not previously brief whether delaying

this litigation pending the Supreme Court’s decision on RD Legal’s certiorari petition would be

warranted. It is not.

       RD Legal itself is proceeding in the district court while the petition for certiorari is

pending. Like this case, RD Legal involves an enforcement action that the Bureau brought under

the leadership of a Director subject to an unconstitutional removal provision. See CFPB v. RD

Legal Funding, LLC, 828 Fed. Appx. 68 (2d Cir. Oct. 30, 2020). RD Legal argues that that

constitutional problem requires the action against it to be dismissed (an argument Defendant in

                                                 1
Case 2:19-cv-02928-JS-ARL Document 46 Filed 07/20/21 Page 2 of 3 PageID #: 517




this case has not made in any motion, but has merely suggested it might raise at some future

point), and has sought certiorari on that issue. Pet. for Cert. at 1, RD Legal, No. 20-1758 (S. Ct.).

RD Legal asked both the Second Circuit and the district court to stay proceedings while its

petition for certiorari is pending, but both courts denied those requests. 1 The parties have fully

briefed RD Legal’s motion to dismiss, and some discovery is proceeding in the meantime. See

RD Legal, No. 1:17-890 (S.D.N.Y.) (ECF Nos. 132, 136, 137, 138).

       The Bureau respectfully suggests this case should likewise proceed. It is unlikely to say

the least that the Supreme Court will grant certiorari in RD Legal. The Second Circuit did not

address whether the action could proceed in light of the ratification by a Bureau Director

removable at will by the President, leaving that issue for “the district court to consider in the first

instance.” RD Legal, 828 Fed. Appx. at 70. The Supreme Court regularly emphasizes that it is

“a court of final review and not first view” and thus ordinarily does “not decide in the first

instance issues not decided below.” Zivotofsky v. Clinton, 566 U.S. 189, 201 (2012) (internal

quotation marks omitted). There is no reason to think the Supreme Court will depart from that

usual practice in RD Legal. Keeping this case closed will therefore not serve judicial economy

and instead will only further delay this case that has already been on hold for nearly two years.

       Moreover, as this Court has recognized, if “there is ‘even a fair possibility that the stay

will work damage to someone else,’ [a] stay is inappropriate” unless the proponent “mak[es] out

a clear case of hardship or inequity in being required to go forward.’” Galati v. Pharmacia &




1
    CFPB v. RD Legal Funding, LLC, No. 18-2743 (2d Cir.) (ECF No. 278) (denying motion to
stay mandate); CFPB v. RD Legal Funding, LLC, No. 1:17-890, at 3 (S.D.N.Y.) (ECF No. 121)
(RD Legal requests that “discovery in this case not proceed until the Court has adjudicated the
threshold ratification issue and the propriety of this action”); id. at 1 (ECF No. 131) (court
approves commencement of discovery). Nor, to date, has any other Bureau enforcement action
been stayed to await a decision on RD Legal’s petition for certiorari.
                                                  2
Case 2:19-cv-02928-JS-ARL Document 46 Filed 07/20/21 Page 3 of 3 PageID #: 518




Upjohn Co., No. 10-CV-3899-JS, 2011 WL 2470047, at *1 (E.D.N.Y. June 17, 2011) (quoting

Landis v. N. Am. Co., 299 U.S. 248, 255 (1936)). Here, a continued delay will prejudice the

Bureau’s and the public’s interest in pursuing this law-enforcement action that the Bureau filed

more than two years ago, as witnesses’ memories fade and evidence becomes stale. And

Defendant has not demonstrated any “hardship or inequity in being required to go forward,” let

alone a strong enough case to outweigh the Bureau’s and the public’s interest in prompt

resolution of the Bureau’s claims. Quite the opposite, Defendant agreed this case should be

reopened. ECF No. 43 at 3 (“F&G agrees that … this case should be re-opened.”).

       The Bureau respectfully requests that the Court grant the Bureau’s motion for

reconsideration and reopen this case.



Dated: July 20, 2021                         Respectfully submitted,


                                              /s/Alanna B. Carbis
                                             ALANNA B. CARBIS (admitted Pro Hac Vice)
                                             Enforcement Attorney
                                             Bureau of Consumer Financial Protection
                                             1700 G Street, NW
                                             Washington, DC 20552
                                             Telephone: 415-645-6615
                                             Facsimile: 202-435-5477
                                             E-mail: Alanna.Carbis@cfpb.gov




                                                3
